Case 2:17-cv-09288-GW-GJS Document 5 Filed 12/29/17 Page 1 of 1 Page ID #:548


                     UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA
                    NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES



This case has been assigned to:
                District Judge George H. Wu
                Magistrate Judge Gail J. Standish


The case number on all documents filed with the Court should read as follows:
                                   2:17−cv−9288 GW (GJSx)
Most district judges in the Central District of California refer all discovery-related motions to
the assigned magistrate judge pursuant to General Order No. 05-07. If this case has been
assigned to Judge Manuel L. Real, discovery-related motions should generally be noticed for
hearing before the assigned district judge. Otherwise, discovery-related motions should
generally be noticed for hearing before the assigned magistrate judge. Please refer to the
assigned judges’ Procedures and Schedules, available on the Court’s website at
www.cacd.uscourts. gov/judges-requirements, for additional information.




                                                             Clerk, U.S. District Court

 December 29, 2017                                           By /s/ Edwin Sambrano
    Date                                                        Deputy Clerk




                                          ATTENTION
The party that filed the case-initiating document in this case (for example, the complaint or the
notice of removal) must serve a copy of this Notice on all parties served with the case-initiating
 document. In addition, if the case-initiating document in this case was electronically filed, the
   party that filed it must, upon receipt of this Notice, promptly deliver mandatory chambers
 copies of all previously filed documents to the newly assigned-district judge. See L.R. 5-4.5. A
 copy of this Notice should be attached to the first page of the mandatory chambers copy of the
                                     case-initiating document.



CV−18 (04/16)               NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES
